      Case 20-20972-CMB                        Doc 127         Filed 05/01/25 Entered 05/01/25 14:10:09                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              MICHAEL J. USSELMAN


     Debtor 2              BONNIE L. USSELMAN
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-20972CMB




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 MIDFIRST BANK SSB*                                                                8

 Last 4 digits of any number you use to identify the debtor's account                         2   3   1   0

 Property Address:                             210 ROENIGK RD
                                               BOYERS PA 16020




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        1,350.92

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        1,350.92

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        1,350.92



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $     $1,414.25
         The next postpetition payment is due on                 5 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     MICHAEL J. USSELMAN                                              Case number (if known) 20-20972CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    05/01/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     MICHAEL J. USSELMAN                                         Case number (if known) 20-20972CMB
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
12/23/2021   1219858    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         47.34
01/26/2022   1222919    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                        528.21
02/23/2022   1225795    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                        528.21
03/25/2022   1228754    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                        247.16
                                                                                                                  1,350.92

MORTGAGE REGULAR PAYMENT (Part 3)
09/22/2020              MIDFIRST BANK SSB*                     REALLOCATION OF CONTINUING DEBT                     2,369.39
09/28/2020   1173167    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,106.43
10/26/2020   1176264    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,169.33
11/24/2020   1179334    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,208.74
12/21/2020   1182285    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       2,468.71
01/25/2021   1185255    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       3,083.56
03/26/2021   1191675    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       3,223.76
04/26/2021   1194925    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,642.89
05/25/2021   1198048    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,667.11
06/25/2021   1201233    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,685.46
08/26/2021   1207557    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,805.12
09/24/2021   1210676    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,810.22
10/25/2021   1213748    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,784.37
11/22/2021   1216783    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,779.60
12/23/2021   1219858    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       2,854.57
01/26/2022   1222919    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
02/23/2022   1225795    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
03/25/2022   1228754    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
04/26/2022   1231798    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
05/25/2022   1234837    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
06/27/2022   1237864    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
07/26/2022   1240808    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
08/24/2022   1243693    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
09/27/2022   1246560    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
10/25/2022   1249390    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,325.13
11/23/2022   1252166    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
12/22/2022   1254926    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
01/26/2023   1257653    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
02/23/2023   1260276    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
03/28/2023   1263045    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
04/25/2023   1265864    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
05/25/2023   1268722    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
06/26/2023   1271618    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
07/25/2023   1274384    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
08/25/2023   1277155    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
09/26/2023   1279908    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
10/25/2023   1282616    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,342.21
11/27/2023   1285294    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
12/21/2023   1287884    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
01/26/2024   1290563    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
02/26/2024   1293228    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
03/26/2024   1295873    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
04/25/2024   1298523    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
05/29/2024   1301233    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
06/25/2024   1303771    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
07/25/2024   1306368    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
08/26/2024   1308946    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
09/25/2024   1311536    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
10/25/2024   1314058    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,351.07
11/25/2024   1316625    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,414.25
12/23/2024   1319029    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,414.25
01/28/2025   1321524    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,414.25
02/25/2025   1323954    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,414.25
03/26/2025   1326440    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,414.25
04/25/2025   1328906    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,388.43



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Debtor 1     MICHAEL J. USSELMAN                                         Case number (if known) 20-20972CMB
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
                                                                                                                  83,689.60




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

MICHAEL J. USSELMAN
BONNIE L. USSELMAN
210 ROENIGC ROAD
BOYERS, PA 16020

DANIEL P FOSTER ESQ**
FOSTER LAW OFFICES
1210 PARK AVE
MEADVILLE, PA 16335

MIDFIRST BANK SSB*
ATTN BANKRUPTCY TRUSTEE PMTS*
999 NW GRAND BLVD STE 100
OKLAHOMA CITY, OK 73118

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106

ALDRIDGE PITE LLP
3333 CAMINO DEL RIO SOUTH STE 225
SAN DIEGO, CA 92108




5/1/25                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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